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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 EARLANDO SAMUEL,                                       CIVIL ACTION
              Plaintiff,

               v.

 THE DELAWARE COUNTY HOUSING                            NO. 22-2451
 AUTHORITY, LAURA BLACKBURN,
 DAWN WARE, CHRISTINA PRO, AND
 CATHERINE CUENY,
               Defendants.

                                        ORDER

       AND NOW, this 18th day of December, 2023, upon consideration of Defendants’

Motion for Summary Judgment (ECF No. 81), Plaintiff’s Opposition thereto (ECF No. 87), and

Defendants’ Reply in Support (ECF No. 88), IT IS HEREBY ORDERED that Defendants’

Motion is GRANTED.

       The Clerk of Court is directed to TERMINATE this matter and mark it CLOSED.

                                                 BY THE COURT:


                                                 /s/Wendy Beetlestone, J.

                                                 _______________________________
                                                 WENDY BEETLESTONE, J.
